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                 IN THE UNITED STATES DISTRICTCOURf1LB S D.C. At\anta
                FOR THE N0~i~~:~~;6NOF GEORGIA                          . ~£P 1 9 2012


UNITED STATES OF AMERICA
                                                                  c)irt:k-~~::
      v.                                                CRIMINAL ACTION

GUILLARMO ACOSTA-HILDAGO
      a/k/a JUANITO;
                                                         NO·1: 12- CR- 314
JOSE VILLAGRANA,
     a/kIa CHIVAS, .
     a/kIa EL CINCO; &
JOSELUIS SILVA-HERNANDEZ,
     a/k/aMACHO


                                   COUNT ONE

      Beginning on a date unknown to the Grand Jury, but at least as of June 11,

2011, and continuing until at least on or about December 10, 2011, in the Northern

District   of Georgia      and   elsewhere,     the   defendants,    GUILLARMO

ACOSTA-HILDAGO, a/k/a JUANITO; JOSE VILLAGRANA, a/kIa CHIVAS,

a/k/a EL CINCO; and JOSE LUIS SILVA-HERNANDEZ, a/k/a MACHO;

knowingly conspired and agreed with each other and with other persons known and

unknown to the Grand Jury, to violate Title 21, United States Code Section 841(a)

(1); that is, to possess with the intent to distribute and to distribute a controlled

substance, namely methamphetamine, a Schedule II controlled substance, and

marijuana, a Schedule I controlled substance; said conspiracy involving at least five
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hundred (500) grams of a mixture and substance containing a detectible amount of

methamphetamine, and at least one thousand (1,000) kilograms of a mixture and

substance containing a detectible amount of marijuana; in violation of Title 21,

United States Code, Sections ~41(a)(1), 841(b) (1) (A)(vii) and (viii), and 846 and

Title 18, United States Code, Section 2.

                                   COUNT TWO

      On or about August 8 to August 11, 2011, in the Northern District of Georgia

and elsewhere, the defendants, GUILLARMO ACOSTA-HILDAGO, a/k:/a

JUANITO; and JOSE VILLAGRANA, a/k:/a CHIVAS, a/k:/a EL CINCO, aided and

abetted by one another, knowingly possessed with the intent to distribute a controlled

substance, namely, at least one thousand kilograms of a mixture and substance

containing a detectable amount of marijuana, a Schedule I controlled substance, in

violation of Title 21, United States Code, Sections 841 (a) (1) and (b) (1) (A)(viii)

and Title 18, United States Code, Section 2.

                                 COUNT THREE

      On or about September 3 to 4, 2011, in the Northern District of Georgia, the

defendants, GUILLARMO ACOSTA-HILDAGO,                    a/k:/a JUANITO;       JOSE

VILLAGRANA,        a/k:/a   CHIVAS,     alkJa   EL   CINCO;      and   JOSE     LUIS

SILVA-HERNANDEZ, a/k:/a MACHO, knowingly possessed with the intent to

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distribute a controlled substance, namely, at least one hundred (100) kilograms of a

mixture and substance containing a detectible amount of marijuana, a Schedule I

controlled substance, in violation of Title 21, United States Code, Sections 841 (a)

(1) and (b) (1)(A)(vii).

                                  COUNT FOUR

      On or about December 10, 2011, in the Northern District of Georgia, the

defendants, GUILLARMO ACOSTA-HILDAGO,                  a/kJa JUANITO; and JOSE

VILLAGRANA, a/kIa CHIVAS, a/kIa EL CINCO, knowingly possessed with the

intent to distribute a controlled substance, namely, at least one hundred (100)

kilograms of a mixture and substance containing a detectible amount of marijuana,

a Schedule I controlled substance, in violation of Title 21, United States Code,

Sections 841 (a) (1) and (b) (1)(A)(vii).

                           FORFEITURE PROVISION

      1.     As a result of committing one or more of the offenses alleged in this

Indictment, the defendants, GUILLARMO ACOSTA-HILDAGO, a/kIaJUANITO;

JOSE VILLAGRANA, a/kIa CHIVAS, a/kIa EL CINCO; and JOSE LUIS

SIL VA-HERNANDEZ, a/kIa MACHO; shall forfeit to the United States pursuant to

21 U.S.C. § 853 any and all property, real and personal, constituting or derived from

any proceeds the said defendants obtained directly and indirectly as a result of the

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said violation and any and all property used and intended to be used in any manner

or part to commit or facilitate the commission of said violation.

       2.        If, as a result ofany act or omission ofa defendant, any property subject

to forfeiture:

                 (a)   cannot be located upon the exercise of due diligence;

                 (b)   has been transferred or sold to, or deposited with, a third person;

                 (c)   has been placed beyond the jurisdiction of the Court;

                 (d)   has been substantially diminished in value; or

                 (e)   has been commingled with other property which cannot be

                       subdivided without difficulty;

the United States intends, pursuant 21 U.S.C. § 853(p), as incorporated by 28 U.S.C.

§ 2461 (c), to seek forfeiture ofany other property ofsaid defendant( s) up to the value

of the forfeitable property.



                                                    FOREPERSON

SALLY QUILLIAN YATES
       STATES A;r.~RNJY

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     STANT UNITED STATES ATTORNEY
600 U.S. Courthouse
75 Spring Street, S.W.
Atlanta, GA 30303
404/581-6084
Georgia Bar No. 719439


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